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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )   Chapter 11
                                                          )
    FRANCHISE GROUP, INC., et al., 1                      )   Case No. 24-12480 (LSS)
                                                          )
                             Debtors.                     )   (Jointly Administered)
                                                          )
                                                          )   Re: Docket Nos. 500, 545, 546, 547, 549, 550, 551 & 584
                                                          )

                               NOTICE OF AMENDMENT TO
                         SCHEDULE G FOR CERTAIN OF THE DEBTORS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        Pursuant to rule 1009(a) of the Federal Rules of Bankruptcy Procedure, the
above-captioned debtors and debtors in possession (collectively, the “Debtors”), hereby provide
notice (this “Notice”) that Debtors (a) Buddy’s Franchising and Licensing LLC, (b) Betancourt
Sports Nutrition, LLC, (c) Vitamin Shoppe Florida, LLC, (d) Vitamin Shoppe Procurement
Services, LLC, (e) Vitamin Shoppe Mariner, LLC, (f) Vitamin Shoppe Industries LLC, and
(g) Vitamin Shoppe Global, LLC (collectively, the “Amending Debtors”) have amended Schedule
G of their respective Schedules of Assets and Liabilities (collectively, the “Schedules”), as set
forth below.


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      The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
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                                    ORIGINAL SCHEDULES

       On December 24, 2024, the Debtors each filed their Schedules and their Statements of
Financial Affairs [Docket Nos. 500–558] (collectively, the “Schedules and Statements”).

                                    AMENDED SCHEDULES

        After filing the Schedules, the Amending Debtors learned that certain executory contracts
and unexpired leases were inadvertently omitted from their respective Schedule G. Accordingly,
the Amending Debtors have amended Schedule G (the “Amended Schedule”) to include such
executory contracts and unexpired leases. The applicable Amending Debtors’ Amended Schedule
is attached hereto as Exhibit A.

       Except for the Amended Schedule and the amendment to the Schedules reflected in the
Notice of Amendment to Schedule A/B for Vitamin Shoppe Industries LLC [Docket No. 584], no
changes have been made to the Schedules and Statements since they were originally filed. The
Amended Schedule is hereby incorporated into, and comprise an integral part of, the Schedules
and Statements.

                                         GLOBAL NOTES

        The Amended Schedule remains subject in all respects to the Global Notes and Statement
of Limitations, Methodology, and Disclaimers Regarding the Debtors’ Schedules of Assets and
Liabilities and Statements of Financial Affairs filed with the Schedules and Statements.

                                  RESERVATION OF RIGHTS

        The Debtors reserve their rights to dispute, or to assert offsets or defenses against, any filed
claim or any claim listed or reflected in the Schedules as to the nature, amount, liability,
classification, or otherwise. The Debtors reserve all rights to further amend or supplement the
Amended Schedule and the Schedules and Statements. In addition, nothing contained in this
Notice shall preclude the Debtors from objecting to any claim, whether scheduled or filed, on any
and all grounds.

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                                                   2
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Dated: April 28, 2025
Wilmington, Delaware

 /s/ Shella Borovinskaya
  YOUNG CONAWAY STARGATT &                    KIRKLAND & ELLIS LLP
  TAYLOR, LLP                                 KIRKLAND & ELLIS INTERNATIONAL LLP
  Edmon L. Morton (Del. No. 3856)             Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Matthew B. Lunn (Del. No. 4119)             Nicole L. Greenblatt, P.C. (admitted pro hac vice)
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 Co-Counsel to the Debtors                    Co-Counsel to the Debtors
 and Debtors in Possession                    and Debtors in Possession




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                      EXHIBIT A

                    Amended Schedule
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              IN THE UNITED STATES BANKRUPTCY
              COURT FOR DISTRICT OF DELAWARE


                                         §
In re:                                   §           Chapter 11
                                         §
FRANCHISE GROUP, INC., et al.            §           Case No. 24-12480 (LSS)
                                         §
Debtors                                  §
                                         §



                SCHEDULES OF ASSETS AND LIABILITIES FOR
                    Buddy's Franchising and Licensing LLC
                            CASE NO. 24-12512 (LSS)




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Buddy's Franchising and Licensing LLC                      Case 24-12480-LSS                Doc 1329          Filed 04/28/25          Page 6 of 31                               Case Number: 24-12512 (LSS)


 Fill in this information to identify the case and this filing:

 Debtor Name:                               Buddy's Franchising and Licensing LLC

 United States Bankruptcy Court:                       District of Delaware

 Case Number (if known):                                 24-12512 (LSS)




Form 206G

Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

   Part 1:


1. Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2. List all contracts and unexpired leases



 Nature of the Debtor's Interest                                  Expiration Date            Contract ID           Co-Debtor                      Name                               Address



2.1 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                                                 122000041                           A-TEAM LEASING, LLC                     2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 523)                                                                                                                                       ATLANTA, GA 30345
2.2 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                                                 122000042                           A-TEAM LEASING, LLC                     2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 524)                                                                                                                                       ATLANTA, GA 30345
2.3 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                                                 122000043                           A-TEAM LEASING, LLC                     2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 525)                                                                                                                                       ATLANTA, GA 30345
2.4 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                                                 122000044                           A-TEAM LEASING, LLC                     2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 527)                                                                                                                                       ATLANTA, GA 30345
2.5 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                                                 122000045                           A-TEAM LEASING, LLC                     2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 528)                                                                                                                                       ATLANTA, GA 30345
2.6 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                                                 122000046                           A-TEAM LEASING, LLC                     2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 529)                                                                                                                                       ATLANTA, GA 30345

                                                                                             Schedule G - Page 1 of 25
Buddy's Franchising and Licensing LLC           Case 24-12480-LSS    Doc 1329        Filed 04/28/25     Page 7 of 31              Case Number: 24-12512 (LSS)


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 Nature of the Debtor's Interest                   Expiration Date   Contract ID         Co-Debtor               Name                  Address



2.7 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                         122000047                      A-TEAM LEASING, LLC   2232 KODIAK DRIVE NE
   AMENDED OR EXTENDED (STORE 531)                                                                                         ATLANTA, GA 30345
2.8 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                         122000048                      A-TEAM LEASING, LLC   2232 KODIAK DRIVE NE
   AMENDED OR EXTENDED (STORE 533)                                                                                         ATLANTA, GA 30345
2.9 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                         122000049                      A-TEAM LEASING, LLC   2232 KODIAK DRIVE NE
   AMENDED OR EXTENDED (STORE 534)                                                                                         ATLANTA, GA 30345
2.10 FRANCHISE AGREEMENT, DATED 06/01/2016, AS                        122000050                      A-TEAM LEASING, LLC   2232 KODIAK DRIVE NE
    AMENDED OR EXTENDED (STORE 535)                                                                                        ATLANTA, GA 30345
2.11 FRANCHISE AGREEMENT, DATED 11/15/2021, AS                        122000051                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 590)                                                                                        SAN FRANCISCO, CA 94107
2.12 FRANCHISE AGREEMENT, DATED 02/15/2022, AS                        122000052                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 591)                                                                                        SAN FRANCISCO, CA 94107
2.13 FRANCHISE AGREEMENT, DATED 04/15/2022, AS                        122000053                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 594)                                                                                        SAN FRANCISCO, CA 94107
2.14 FRANCHISE AGREEMENT, DATED 07/15/2022, AS                        122000054                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 595)                                                                                        SAN FRANCISCO, CA 94107
2.15 FRANCHISE AGREEMENT, DATED 12/17/2022, AS                        122000055                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 596)                                                                                        SAN FRANCISCO, CA 94107
2.16 FRANCHISE AGREEMENT, DATED 11/01/2022, AS                        122000056                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 597)                                                                                        SAN FRANCISCO, CA 94107
2.17 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                        122000057                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 02)                                                                                         SAN FRANCISCO, CA 94107
2.18 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                        122000058                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1001)                                                                                       SAN FRANCISCO, CA 94107
2.19 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                        122000059                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1002)                                                                                       SAN FRANCISCO, CA 94107
2.20 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                        122000060                      BB BHF STORES LLC     552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1003)                                                                                       SAN FRANCISCO, CA 94107

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Buddy's Franchising and Licensing LLC        Case 24-12480-LSS     Doc 1329        Filed 04/28/25     Page 8 of 31            Case Number: 24-12512 (LSS)


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 Nature of the Debtor's Interest                 Expiration Date   Contract ID         Co-Debtor              Name                Address



2.21 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000061                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1004)                                                                                   SAN FRANCISCO, CA 94107
2.22 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000062                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1005)                                                                                   SAN FRANCISCO, CA 94107
2.23 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000063                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1008)                                                                                   SAN FRANCISCO, CA 94107
2.24 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000064                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1009)                                                                                   SAN FRANCISCO, CA 94107
2.25 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000065                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1010)                                                                                   SAN FRANCISCO, CA 94107
2.26 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000066                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1031)                                                                                   SAN FRANCISCO, CA 94107
2.27 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000067                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1032)                                                                                   SAN FRANCISCO, CA 94107
2.28 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000068                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1038)                                                                                   SAN FRANCISCO, CA 94107
2.29 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000069                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1039)                                                                                   SAN FRANCISCO, CA 94107
2.30 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000070                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1040)                                                                                   SAN FRANCISCO, CA 94107
2.31 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000071                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1049)                                                                                   SAN FRANCISCO, CA 94107
2.32 FRANCHISE AGREEMENT, DATED 08/25/2021, AS                      122000072                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 1056)                                                                                   SAN FRANCISCO, CA 94107
2.33 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000073                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 17)                                                                                     SAN FRANCISCO, CA 94107
2.34 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000074                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 37)                                                                                     SAN FRANCISCO, CA 94107

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2.35 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000075                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 45)                                                                                     SAN FRANCISCO, CA 94107
2.36 FRANCHISE AGREEMENT, DATED 08/18/2022, AS                      122000076                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 475)                                                                                    SAN FRANCISCO, CA 94107
2.37 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000077                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 505)                                                                                    SAN FRANCISCO, CA 94107
2.38 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000078                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 507)                                                                                    SAN FRANCISCO, CA 94107
2.39 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000079                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 508)                                                                                    SAN FRANCISCO, CA 94107
2.40 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000080                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 509)                                                                                    SAN FRANCISCO, CA 94107
2.41 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000081                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 510)                                                                                    SAN FRANCISCO, CA 94107
2.42 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000082                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 511)                                                                                    SAN FRANCISCO, CA 94107
2.43 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000083                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 518)                                                                                    SAN FRANCISCO, CA 94107
2.44 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000084                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 519)                                                                                    SAN FRANCISCO, CA 94107
2.45 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000085                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 522)                                                                                    SAN FRANCISCO, CA 94107
2.46 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000086                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 537)                                                                                    SAN FRANCISCO, CA 94107
2.47 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000087                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 538)                                                                                    SAN FRANCISCO, CA 94107
2.48 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000088                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 542)                                                                                    SAN FRANCISCO, CA 94107

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Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


 Nature of the Debtor's Interest                 Expiration Date   Contract ID         Co-Debtor              Name                Address



2.49 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000089                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 543)                                                                                    SAN FRANCISCO, CA 94107
2.50 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000090                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 544)                                                                                    SAN FRANCISCO, CA 94107
2.51 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000091                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 545)                                                                                    SAN FRANCISCO, CA 94107
2.52 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000092                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 546)                                                                                    SAN FRANCISCO, CA 94107
2.53 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000093                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 55)                                                                                     SAN FRANCISCO, CA 94107
2.54 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000094                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 552)                                                                                    SAN FRANCISCO, CA 94107
2.55 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000095                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 556)                                                                                    SAN FRANCISCO, CA 94107
2.56 FRANCHISE AGREEMENT, DATED 02/02/2022, AS                      122000096                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 557)                                                                                    SAN FRANCISCO, CA 94107
2.57 FRANCHISE AGREEMENT, DATED 02/02/2022, AS                      122000097                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 558)                                                                                    SAN FRANCISCO, CA 94107
2.58 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000098                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 559)                                                                                    SAN FRANCISCO, CA 94107
2.59 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000099                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 560)                                                                                    SAN FRANCISCO, CA 94107
2.60 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000100                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 561)                                                                                    SAN FRANCISCO, CA 94107
2.61 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000101                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 562)                                                                                    SAN FRANCISCO, CA 94107
2.62 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                      122000102                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 563)                                                                                    SAN FRANCISCO, CA 94107

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Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


 Nature of the Debtor's Interest                  Expiration Date   Contract ID         Co-Debtor               Name               Address



2.63 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000103                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 565)                                                                                     SAN FRANCISCO, CA 94107
2.64 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000104                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 566)                                                                                     SAN FRANCISCO, CA 94107
2.65 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000105                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 57)                                                                                      SAN FRANCISCO, CA 94107
2.66 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000106                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 574)                                                                                     SAN FRANCISCO, CA 94107
2.67 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000107                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 577)                                                                                     SAN FRANCISCO, CA 94107
2.68 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000108                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 59)                                                                                      SAN FRANCISCO, CA 94107
2.69 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000109                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 61)                                                                                      SAN FRANCISCO, CA 94107
2.70 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000110                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 65)                                                                                      SAN FRANCISCO, CA 94107
2.71 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000111                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 66)                                                                                      SAN FRANCISCO, CA 94107
2.72 FRANCHISE AGREEMENT, DATED 11/10/2020, AS                       122000112                      BB BHF STORES LLC   552 WISONSIN STREET
    AMENDED OR EXTENDED (STORE 76)                                                                                      SAN FRANCISCO, CA 94107
2.73 FRANCHISE AGREEMENT, DATED 08/23/2022,                          122000150                      BMH PRIME 95, LLC   400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH PRIME 95, LLC                                                                                 DESOTO, TX 75115
2.74 FRANCHISE AGREEMENT, DATED 08/23/2022,                          122000148                      BMH PRIME 96, LLC   400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH PRIME 96, LLC                                                                                 DESOTO, TX 75115




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2.75 FRANCHISE AGREEMENT, DATED 08/23/2022,                          122000149                      BMH PRIME 97, LLC   400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH PRIME 97, LLC                                                                                 DESOTO, TX 75115
2.76 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000122                      BMH-FAN 43, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 43, LLC                                                                                   DESOTO, TX 75115
2.77 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000113                      BMH-FAN 44, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 44, LLC                                                                                   DESOTO, TX 75115
2.78 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000114                      BMH-FAN 45, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 45, LLC                                                                                   DESOTO, TX 75115
2.79 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000115                      BMH-FAN 46, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 46, LLC                                                                                   DESOTO, TX 75115
2.80 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000124                      BMH-FAN 47, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 47, LLC                                                                                   DESOTO, TX 75115
2.81 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000116                      BMH-FAN 48, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 48, LLC                                                                                   DESOTO, TX 75115
2.82 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000117                      BMH-FAN 49, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 49, LLC                                                                                   DESOTO, TX 75115
2.83 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000118                      BMH-FAN 50, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 50, LLC                                                                                   DESOTO, TX 75115
2.84 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000119                      BMH-FAN 51, LLC     400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-FAN 51, LLC                                                                                   DESOTO, TX 75115

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2.85 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000120                      BMH-FAN 52, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-FAN 52, LLC                                                                                  DESOTO, TX 75115
2.86 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000123                      BMH-FAN 53, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-FAN 53, LLC                                                                                  DESOTO, TX 75115
2.87 FRANCHISE AGREEMENT, DATED 01/30/2020,                          122000121                      BMH-FAN 54, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-FAN 54, LLC                                                                                  DESOTO, TX 75115
2.88 FRANCHISE AGREEMENT, DATED 06/14/2021,                          122000133                      BMH-NEW 55, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 55, LLC                                                                                  DESOTO, TX 75115
2.89 FRANCHISE AGREEMENT, DATED 06/01/2021,                          122000132                      BMH-NEW 56, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 56, LLC                                                                                  DESOTO, TX 75115
2.90 FRANCHISE AGREEMENT, DATED 10/31/2020,                          122000135                      BMH-NEW 57, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 57, LLC                                                                                  DESOTO, TX 75115
2.91 FRANCHISE AGREEMENT, DATED 08/17/2021,                          122000130                      BMH-NEW 58, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 58, LLC                                                                                  DESOTO, TX 75115
2.92 FRANCHISE AGREEMENT, DATED 03/05/2021,                          122000128                      BMH-NEW 59, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 59, LLC                                                                                  DESOTO, TX 75115
2.93 FRANCHISE AGREEMENT, DATED 03/05/2021,                          122000129                      BMH-NEW 60, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 60, LLC                                                                                  DESOTO, TX 75115
2.94 FRANCHISE AGREEMENT, DATED 03/05/2021,                          122000127                      BMH-NEW 61, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
    LICENSING LLC AND BMH-NEW 61, LLC                                                                                  DESOTO, TX 75115

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2.95 FRANCHISE AGREEMENT, DATED 02/21/2022,                           122000146                      BMH-NEW 62, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-NEW 62, LLC                                                                                   DESOTO, TX 75115
2.96 FRANCHISE AGREEMENT, DATED 07/01/2021,                           122000134                      BMH-NEW 63, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-NEW 63, LLC                                                                                   DESOTO, TX 75115
2.97 FRANCHISE AGREEMENT, DATED 10/15/2021,                           122000144                      BMH-NEW 65, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-NEW 65, LLC                                                                                   DESOTO, TX 75115
2.98 FRANCHISE AGREEMENT, DATED 03/01/2022,                           122000145                      BMH-NEW 69, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-NEW 69, LLC                                                                                   DESOTO, TX 75115
2.99 FRANCHISE AGREEMENT, DATED 02/01/2021,                           122000126                      BMH-NEW 70, LLC    400 EAST CENTRE PARK BLVD,
    BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
    LICENSING LLC AND BMH-NEW 70, LLC                                                                                   DESOTO, TX 75115
2.100 FRANCHISE AGREEMENT, DATED 06/01/2021,                          122000131                      BMH-NEW 71, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
     LICENSING LLC AND BMH-NEW 71, LLC                                                                                  DESOTO, TX 75115
2.101 FRANCHISE AGREEMENT, DATED 11/01/2022,                          122000151                      BMH-NEW 92, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
     LICENSING LLC AND BMH-NEW 92, LLC                                                                                  DESOTO, TX 75115
2.102 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000164                      BMH-RCL 34, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
     LICENSING LLC AND BMH-RCL 34, LLC                                                                                  DESOTO, TX 75115
2.103 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000165                      BMH-RCL 35, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
     LICENSING LLC AND BMH-RCL 35, LLC                                                                                  DESOTO, TX 75115
2.104 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000163                      BMH-RCL 36, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                    SUITE 101
     LICENSING LLC AND BMH-RCL 36, LLC                                                                                  DESOTO, TX 75115

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2.105 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000160                       BMH-RCL 37, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-RCL 37, LLC                                                                                   DESOTO, TX 75115
2.106 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000161                       BMH-RCL 38, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-RCL 38, LLC                                                                                   DESOTO, TX 75115
2.107 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000166                       BMH-RCL 39, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-RCL 39, LLC                                                                                   DESOTO, TX 75115
2.108 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000162                       BMH-RCL 40, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-RCL 40, LLC                                                                                   DESOTO, TX 75115
2.109 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000159                       BMH-RCL 41, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-RCL 41, LLC                                                                                   DESOTO, TX 75115
2.110 FRANCHISE AGREEMENT, DATED 12/23/2019,                          122000158                       BMH-RCL 42, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-RCL 42, LLC                                                                                   DESOTO, TX 75115
2.111 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000136                       BMH-SM 79, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 79, LLC                                                                                    DESOTO, TX 75115
2.112 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000137                       BMH-SM 80, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 80, LLC                                                                                    DESOTO, TX 75115
2.113 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000138                       BMH-SM 81, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 81, LLC                                                                                    DESOTO, TX 75115
2.114 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000139                       BMH-SM 82, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 82, LLC                                                                                    DESOTO, TX 75115

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2.115 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000140                       BMH-SM 83, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 83, LLC                                                                                    DESOTO, TX 75115
2.116 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000141                       BMH-SM 85, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 85, LLC                                                                                    DESOTO, TX 75115
2.117 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000142                       BMH-SM 86, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 86, LLC                                                                                    DESOTO, TX 75115
2.118 FRANCHISE AGREEMENT, DATED 06/21/2021,                          122000143                       BMH-SM 87, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-SM 87, LLC                                                                                    DESOTO, TX 75115
2.119 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000152                       BMH-TB 72, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-TB 72, LLC                                                                                    DESOTO, TX 75115
2.120 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000153                       BMH-TB 73, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-TB 73, LLC                                                                                    DESOTO, TX 75115
2.121 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000154                       BMH-TB 74, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-TB 74, LLC                                                                                    DESOTO, TX 75115
2.122 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000155                       BMH-TB 75, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-TB 75, LLC                                                                                    DESOTO, TX 75115
2.123 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000156                       BMH-TB 76, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-TB 76, LLC                                                                                    DESOTO, TX 75115
2.124 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000157                       BMH-TB 77, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                     SUITE 101
     LICENSING LLC AND BMH-TB 77, LLC                                                                                    DESOTO, TX 75115

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2.125 FRANCHISE AGREEMENT, DATED 12/10/2020,                          122000173                       BMH-TB 78, LLC            400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TB 78, LLC                                                                                           DESOTO, TX 75115
2.126 FRANCHISE AGREEMENT, DATED 02/20/2017,                          122000169                       BMH-TNM 28, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TNM 28, LLC                                                                                          DESOTO, TX 75115
2.127 FRANCHISE AGREEMENT, DATED 05/13/2016,                          122000192                       BMH-TNM 29, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TNM 29, LLC                                                                                          DESOTO, TX 75115
2.128 FRANCHISE AGREEMENT, DATED 02/20/2017,                          122000170                       BMH-TNM 30, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TNM 30, LLC                                                                                          DESOTO, TX 75115
2.129 FRANCHISE AGREEMENT, DATED 02/20/2017,                          122000171                       BMH-TNM 31, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TNM 31, LLC                                                                                          DESOTO, TX 75115
2.130 FRANCHISE AGREEMENT, DATED 02/20/2017,                          122000172                       BMH-TNM 32, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TNM 32, LLC                                                                                          DESOTO, TX 75115
2.131 FRANCHISE AGREEMENT, DATED 06/01/2017,                          122000194                       BMH-TNM 33, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-TNM 33, LLC                                                                                          DESOTO, TX 75115
2.132 FRANCHISE AGREEMENT, DATED 08/23/2022,                          122000147                       BMH-WF TX 67, LLC         400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BMH-WF TX 67, LLC                                                                                        DESOTO, TX 75115
2.133 FRANCHISE AGREEMENT, DATED 02/01/2019,                          122000196                       BUDDY MAC EIGHT, LLC      400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BUDDY MAC EIGHT, LLC                                                                                     DESOTO, TX 75115
2.134 FRANCHISE AGREEMENT, DATED 05/16/2019,                          122000174                       BUDDY MAC EIGHTEEN, LLC   400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                            SUITE 101
     LICENSING LLC AND BUDDY MAC EIGHTEEN, LLC                                                                                  DESOTO, TX 75115

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2.135 FRANCHISE AGREEMENT, DATED 09/25/2018,                          122000195                       BUDDY MAC ELEVEN, LLC      400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC ELEVEN, LLC                                                                                     DESOTO, TX 75115
2.136 FRANCHISE AGREEMENT, DATED 05/16/2019,                          122000181                       BUDDY MAC FIFTEEN, LLC     400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC FIFTEEN, LLC                                                                                    DESOTO, TX 75115
2.137 FRANCHISE AGREEMENT, DATED 12/31/2015,                          122000185                       BUDDY MAC FOUR, LLC        400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC FOUR, LLC                                                                                       DESOTO, TX 75115
2.138 FRANCHISE AGREEMENT, DATED 08/01/2016,                          122000193                       BUDDY MAC FOURTEEN, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC FOURTEEN,                                                                                       DESOTO, TX 75115
     LLC
2.139 FRANCHISE AGREEMENT, DATED 05/13/2016,                          122000187                       BUDDY MAC NINE, LLC        400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC NINE, LLC                                                                                       DESOTO, TX 75115
2.140 FRANCHISE AGREEMENT, DATED 06/26/2020,                          122000125                       BUDDY MAC NINETEEN, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC NINETEEN, LLC                                                                                   DESOTO, TX 75115
2.141 FRANCHISE AGREEMENT, DATED 02/02/2015,                          122000182                       BUDDY MAC ONE, LLC         400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC ONE, LLC                                                                                        DESOTO, TX 75115
2.142 FRANCHISE AGREEMENT, DATED 05/13/2016,                          122000186                       BUDDY MAC SEVEN, LLC       400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC SEVEN, LLC                                                                                      DESOTO, TX 75115
2.143 FRANCHISE AGREEMENT, DATED 05/16/2019,                          122000168                       BUDDY MAC SEVENTEEN, LLC   400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                             SUITE 101
     LICENSING LLC AND BUDDY MAC SEVENTEEN,                                                                                      DESOTO, TX 75115
     LLC



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2.144 FRANCHISE AGREEMENT, DATED 07/06/2016,                          122000189                       BUDDY MAC SIX, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC SIX, LLC                                                                                          DESOTO, TX 75115
2.145 FRANCHISE AGREEMENT, DATED 05/13/2016,                          122000188                       BUDDY MAC TEN, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TEN, LLC                                                                                          DESOTO, TX 75115
2.146 FRANCHISE AGREEMENT, DATED 08/03/2015,                          122000184                       BUDDY MAC THREE, LLC         400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC THREE, LLC                                                                                        DESOTO, TX 75115
2.147 FRANCHISE AGREEMENT, DATED 08/01/2016,                          122000190                       BUDDY MAC TWELVE, LLC        400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWELVE, LLC                                                                                       DESOTO, TX 75115
2.148 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000179                       BUDDY MAC TWENTY-FIVE, LLC   400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWENTY-FIVE,                                                                                      DESOTO, TX 75115
     LLC
2.149 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000178                       BUDDY MAC TWENTY-FOUR, LLC   400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWENTY-FOUR,                                                                                      DESOTO, TX 75115
     LLC
2.150 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000175                       BUDDY MAC TWENTY-ONE, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWENTY-ONE,                                                                                       DESOTO, TX 75115
     LLC
2.151 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000191                       BUDDY MAC TWENTY-SEVEN, LLC 400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                              SUITE 101
     LICENSING LLC AND BUDDY MAC TWENTY-                                                                                          DESOTO, TX 75115
     SEVEN, LLC
2.152 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000180                       BUDDY MAC TWENTY-SIX, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101

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     LICENSING LLC AND BUDDY MAC TWENTY-SIX,                                                                                       DESOTO, TX 75115
     LLC
2.153 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000177                       BUDDY MAC TWENTY-THREE, LLC 400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWENTY-                                                                                           DESOTO, TX 75115
     THREE, LLC
2.154 FRANCHISE AGREEMENT, DATED 10/04/2019,                          122000176                       BUDDY MAC TWENTY-TWO, LLC    400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWENTY-TWO,                                                                                       DESOTO, TX 75115
     LLC
2.155 FRANCHISE AGREEMENT, DATED 08/21/2015,                          122000183                       BUDDY MAC TWO, LLC           400 EAST CENTRE PARK BLVD,
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               SUITE 101
     LICENSING LLC AND BUDDY MAC TWO, LLC                                                                                          DESOTO, TX 75115
2.156 FRANCHISE AGREEMENT, DATED 01/02/2024, AS                       122000197                       BUDDY WEST LLC               144 OVERLOOK COURT
     AMENDED OR EXTENDED (STORE 140)                                                                                               HENDERSON, NV 89074
2.157 FRANCHISE AGREEMENT, DATED 04/25/2024, AS                       122000198                       BUDDY WEST LLC               144 OVERLOOK COURT
     AMENDED OR EXTENDED (STORE 141)                                                                                               HENDERSON, NV 89074
2.158 FRANCHISE AGREEMENT DATED DECEMBER 1,                           140000200                       EIGHTSIXTHREE RTO, LLC       1345 GEORGE JENKINS BLVD.
     2017, BY AND AMONG BUDDY'S FRANCHISING                                                                                        LAKELAND, FL 33815
     AND LICENSING AND PENTEX RTO, LLC,
     EIGHTSIXTHREE RTO, LLC, PENTEX TOP LEFT,
     LLC, AND PENTEX 1848, LLC
2.159 ADDENDUM DATED DECEMBER 1, 2017, TO THAT                        140000201                       EIGHTSIXTHREE RTO, LLC       1345 GEORGE JENKINS BLVD.
     CERTAIN FRANCHISE AGREEMENT DATED                                                                                             LAKELAND, FL 33815
     DECEMBER 1, 2017, BY AND AMONG BUDDY'S
     FRANCHISING AND LICENSING AND PENTEX RTO,
     LLC, EIGHTSIXTHREE RTO, LLC, PENTEX TOP
     LEFT, LLC, AND PENTEX 1848, LLC
2.160 FRANCHISE AGREEMENT DATED MARCH 1, 2022                         140000202                       EIGHTSIXTHREE RTO, LLC       1345 GEORGE JENKINS BLVD.
     BETWEEN BUDDY'S FRANCHISING AND                                                                                               LAKELAND, FL 33815


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     LICENSING AND EIGHTSIXTHREE RTO, LLC
2.161 ADDENDUM DATED MARCH 1, 2022, TO THE                            140000203                       EIGHTSIXTHREE RTO, LLC   1345 GEORGE JENKINS BLVD.
     FRANCHISE AGREEMENT DATED MARCH 1, 2022                                                                                   LAKELAND, FL 33815
     BETWEEN BUDDY'S FRANCHISING AND
     LICENSING AND EIGHTSIXTHREE RTO, LLC
2.162 AMENDMENT DATED JULY 1, 2019 TO THE                             140000214                       EIGHTSIXTHREE RTO, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                         LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.163 TERMINATION AGREEMENT AND RELEASE DATED                         140000207                       EIGHTSIXTHREE RTO, LLC   1345 GEORGE JENKINS BLVD.
     AUGUST 1, 2024, BY AND AMONG BUDDY'S                                                                                      LAKELAND, FL 33815
     FRANCHISING AND LICENSING LLC AND PENTEX
     RTO, LLC, EIGHTSIXTHREE RTO, LLC, PENTEX
     TOP LEFT, LLC, AND PENTEX 1848, LLC
2.164 AMENDMENT DATED AUGUST 23, 2019, TO THE                         140000212                       EIGHTSIXTHREE RTO, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                         LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC
2.165 AMENDMENT DATED OCTOBER 23, 2019 TO THE                         140000213                       EIGHTSIXTHREE RTO, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                         LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.166 FRANCHISE AGREEMENT, DATED 06/26/2020, AS                       122000199                       GATOR ELITE RTO LLC      9003 CLASSIC COURT
     AMENDED OR EXTENDED (STORE 1020)                                                                                          ORLANDO, FL 32819



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2.167 FRANCHISE AGREEMENT, DATED 06/26/2020, AS                      122000200                       GATOR ELITE RTO LLC      9003 CLASSIC COURT
     AMENDED OR EXTENDED (STORE 1053)                                                                                         ORLANDO, FL 32819
2.168 FRANCHISE AGREEMENT, DATED 06/26/2020, AS                      122000201                       GATOR ELITE RTO LLC      9003 CLASSIC COURT
     AMENDED OR EXTENDED (STORE 1055)                                                                                         ORLANDO, FL 32819
2.169 FRANCHISE AGREEMENT, DATED 08/16/2024, AS                      122000202                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 150)                                                                                          LEXINGTON, NC 27292
2.170 FRANCHISE AGREEMENT, DATED 08/16/2024, AS                      122000203                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 151)                                                                                          LEXINGTON, NC 27292
2.171 FRANCHISE AGREEMENT, DATED 08/16/2024, AS                      122000204                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 152)                                                                                          LEXINGTON, NC 27292
2.172 FRANCHISE AGREEMENT, DATED 08/16/2024, AS                      122000205                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 153)                                                                                          LEXINGTON, NC 27292
2.173 FRANCHISE AGREEMENT, DATED 08/16/2024, AS                      122000206                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 154)                                                                                          LEXINGTON, NC 27292
2.174 FRANCHISE AGREEMENT, DATED 08/16/2024, AS                      122000207                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 155)                                                                                          LEXINGTON, NC 27292
2.175 FRANCHISE AGREEMENT, DATED 08/04/2023, AS                      122000208                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 156)                                                                                          LEXINGTON, NC 27292
2.176 FRANCHISE AGREEMENT, DATED 10/16/2023, AS                      122000209                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 157)                                                                                          LEXINGTON, NC 27292
2.177 FRANCHISE AGREEMENT, DATED 01/02/2024, AS                      122000210                       HODGE RTO GROUP INC.     605 ROY COPPLEY ROAD
     AMENDED OR EXTENDED (STORE 158)                                                                                          LEXINGTON, NC 27292
2.178 FRANCHISE AGREEMENT, DATED 05/06/2024, AS                      122000211                       J & M FRANCHISING, LLC   400 UNION AVENUE SE, SUITE 200
     AMENDED OR EXTENDED (STORE 340)                                                                                          OLYMPIA, WA 98501
2.179 FRANCHISE AGREEMENT, DATED 08/01/2021, AS                      122000219                       KAMERADE GROUP, LLC      58 BROOKFIELD LENOX ROAD
     AMENDED OR EXTENDED (STORE 384)                                                                                          TIFTON, GA 31794
2.180 FRANCHISE AGREEMENT, DATED 08/01/2021, AS                      122000220                       KAMERADE GROUP, LLC      58 BROOKFIELD LENOX ROAD
     AMENDED OR EXTENDED (STORE 385)                                                                                          TIFTON, GA 31794

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2.181 FRANCHISE AGREEMENT, DATED 08/01/2021, AS                      122000221                       KAMERADE GROUP, LLC        58 BROOKFIELD LENOX ROAD
     AMENDED OR EXTENDED (STORE 386)                                                                                            TIFTON, GA 31794
2.182 FRANCHISE AGREEMENT, DATED 08/01/2021, AS                      122000222                       KAMERADE GROUP, LLC        58 BROOKFIELD LENOX ROAD
     AMENDED OR EXTENDED (STORE 387)                                                                                            TIFTON, GA 31794
2.183 FRANCHISE AGREEMENT, DATED 08/01/2021, AS                      122000223                       KAMERADE GROUP, LLC        58 BROOKFIELD LENOX ROAD
     AMENDED OR EXTENDED (STORE 472)                                                                                            TIFTON, GA 31794
2.184 FRANCHISE AGREEMENT, DATED 08/01/2023, AS                      122000212                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 1026)                                                                                           FOREST, VA 24551
2.185 FRANCHISE AGREEMENT, DATED 12/13/2016, AS                      122000213                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 1051)                                                                                           FOREST, VA 24551
2.186 FRANCHISE AGREEMENT, DATED 12/13/2016, AS                      122000214                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 1061)                                                                                           FOREST, VA 24551
2.187 FRANCHISE AGREEMENT, DATED 12/13/2016, AS                      122000215                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 418)                                                                                            FOREST, VA 24551
2.188 FRANCHISE AGREEMENT, DATED 12/13/2016, AS                      122000216                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 419)                                                                                            FOREST, VA 24551
2.189 FRANCHISE AGREEMENT, DATED 02/10/2022, AS                      122000217                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 429)                                                                                            FOREST, VA 24551
2.190 FRANCHISE AGREEMENT, DATED 12/17/2022, AS                      122000218                       KAPPA INVESTMENTS LLC      1099 JEFFERSON DRIVE WEST
     AMENDED OR EXTENDED (STORE 438)                                                                                            FOREST, VA 24551
2.191 FRANCHISE AGREEMENT, DATED 03/20/2024, AS                      122000224                       LIVELY HOLDINGS, LLC       1170 CLOVER HILL LANE
     AMENDED OR EXTENDED (STORE 482)                                                                                            ELGIN, IL 60120
2.192 FRANCHISE AGREEMENT, DATED 11/27/2013, AS                      122000225                       MAGNOLIA FURNITURE, INC.   8848 DAWES LAKE ROAD SOUTH
     AMENDED OR EXTENDED (STORE 380)                                                                                            MOBILE, AL 36619
2.193 FRANCHISE AGREEMENT, DATED 04/16/2015, AS                      122000226                       MAGNOLIA FURNITURE, INC.   8848 DAWES LAKE ROAD SOUTH
     AMENDED OR EXTENDED (STORE 499)                                                                                            MOBILE, AL 36619
2.194 FRANCHISE AGREEMENT, DATED 02/16/2022, AS                      122000227                       MID ATLANTIC RTO, LLC      106 UMBRELLA PLACE
     AMENDED OR EXTENDED (STORE 502)                                                                                            JUPITER, FL 33458

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2.195 FRANCHISE AGREEMENT, DATED 09/03/2015, AS                      122000228                       MID ATLANTIC RTO, LLC        106 UMBRELLA PLACE
     AMENDED OR EXTENDED (STORE 501)                                                                                              JUPITER, FL 33458
2.196 FRANCHISE AGREEMENT, DATED 05/16/2022, AS                      122000229                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 474)                                                                                              ASHEVILLE, NC 28806
2.197 FRANCHISE AGREEMENT, DATED 12/03/2014, AS                      122000230                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 473)                                                                                              ASHEVILLE, NC 28806
2.198 FRANCHISE AGREEMENT, DATED 03/26/2015, AS                      122000231                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 498)                                                                                              ASHEVILLE, NC 28806
2.199 FRANCHISE AGREEMENT, DATED 01/10/2020, AS                      122000232                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 547)                                                                                              ASHEVILLE, NC 28806
2.200 FRANCHISE AGREEMENT, DATED 01/10/2020, AS                      122000233                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 550)                                                                                              ASHEVILLE, NC 28806
2.201 FRANCHISE AGREEMENT, DATED 01/10/2020, AS                      122000234                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 551)                                                                                              ASHEVILLE, NC 28806
2.202 FRANCHISE AGREEMENT, DATED 01/10/2020, AS                      122000235                       MTM VENTURES, LLC            1116 PATTON AVENUE
     AMENDED OR EXTENDED (STORE 554)                                                                                              ASHEVILLE, NC 28806
2.203 FRANCHISE AGREEMENT, DATED 11/07/2023, AS                      122000236                       MW MANAGEMENT, INC.          600 SOUTH JEFFERSON STREET,
     AMENDED OR EXTENDED (STORE 441)                                                                                              SUITE M
                                                                                                                                  ATHENS, AL 35611
2.204 FRANCHISE AGREEMENT, DATED 06/02/2024, AS                      122000237                       MW MANAGEMENT, INC.          600 SOUTH JEFFERSON STREET,
     AMENDED OR EXTENDED (STORE 442)                                                                                              SUITE M
                                                                                                                                  ATHENS, AL 35611
2.205 FRANCHISE AGREEMENT, DATED 11/01/2020, AS                      122000238                       PAUHANA ASSOCIATES LIMITED   194 PUGUA STREET
     AMENDED OR EXTENDED (STORE 439 AND 440)                                                                                      DEDEDO, GUAM 96929
2.206 ADDENDUM DATED DECEMBER 1, 2017, TO THAT                       140000201                       PENTEX 1848, LLC             1345 GEORGE JENKINS BLVD.
     CERTAIN FRANCHISE AGREEMENT DATED                                                                                            LAKELAND, FL 33815
     DECEMBER 1, 2017, BY AND AMONG BUDDY'S
     FRANCHISING AND LICENSING AND PENTEX RTO,


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     LLC, EIGHTSIXTHREE RTO, LLC, PENTEX TOP
     LEFT, LLC, AND PENTEX 1848, LLC
2.207 FRANCHISE AGREEMENT DATED DECEMBER 1,                           140000200                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     2017, BY AND AMONG BUDDY'S FRANCHISING                                                                              LAKELAND, FL 33815
     AND LICENSING AND PENTEX RTO, LLC,
     EIGHTSIXTHREE RTO, LLC, PENTEX TOP LEFT,
     LLC, AND PENTEX 1848, LLC
2.208 AMENDMENT DATED OCTOBER 23, 2019 TO THE                         140000213                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                   LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.209 AMENDMENT DATED AUGUST 23, 2019, TO THE                         140000212                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                   LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC
2.210 TERMINATION AGREEMENT AND RELEASE DATED                         140000207                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     AUGUST 1, 2024, BY AND AMONG BUDDY'S                                                                                LAKELAND, FL 33815
     FRANCHISING AND LICENSING LLC AND PENTEX
     RTO, LLC, EIGHTSIXTHREE RTO, LLC, PENTEX
     TOP LEFT, LLC, AND PENTEX 1848, LLC
2.211 FRANCHISE AGREEMENT DATED DECEMBER 2,                           140000208                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     2021, BETWEEN BUDDY'S FRANCHISING AND                                                                               LAKELAND, FL 33815
     LICENSING LLC AND PENTEX 1848, LLC
2.212 ADDENDUM DATED DECEMBER 2, 2021 TO THE                          140000209                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     FRANCHISE AGREEMENT DATED DECEMBER 2,                                                                               LAKELAND, FL 33815
     2021, BETWEEN BUDDY'S FRANCHISING AND
     LICENSING LLC AND PENTEX 1848, LLC

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2.213 FRANCHISE AGREEMENT DATED DECEMBER 2,                           140000210                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     2021, BETWEEN BUDDY'S FRANCHISING AND                                                                               LAKELAND, FL 33815
     LICENSING LLC AND PENTEX 1848, LLC
2.214 ADDENDUM DATED DECEMBER 2, 2021 TO THE                          140000211                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     FRANCHISE AGREEMENT DATED DECEMBER 2,                                                                               LAKELAND, FL 33815
     2021, BETWEEN BUDDY'S FRANCHISING AND
     LICENSING LLC AND PENTEX 1848, LLC
2.215 AMENDMENT DATED JULY 1, 2019 TO THE                             140000214                       PENTEX 1848, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                   LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.216 AMENDMENT DATED JULY 1, 2019 TO THE                             140000214                       PENTEX RTO, LLC    1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                   LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.217 TERMINATION AGREEMENT AND RELEASE DATED                         140000207                       PENTEX RTO, LLC    1345 GEORGE JENKINS BLVD.
     AUGUST 1, 2024, BY AND AMONG BUDDY'S                                                                                LAKELAND, FL 33815
     FRANCHISING AND LICENSING LLC AND PENTEX
     RTO, LLC, EIGHTSIXTHREE RTO, LLC, PENTEX
     TOP LEFT, LLC, AND PENTEX 1848, LLC
2.218 AMENDMENT DATED AUGUST 23, 2019, TO THE                         140000212                       PENTEX RTO, LLC    1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                   LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC



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2.219 AMENDMENT DATED OCTOBER 23, 2019 TO THE                         140000213                       PENTEX RTO, LLC        1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                       LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.220 FRANCHISE AGREEMENT DATED DECEMBER 1,                           140000200                       PENTEX RTO, LLC        1345 GEORGE JENKINS BLVD.
     2017, BY AND AMONG BUDDY'S FRANCHISING                                                                                  LAKELAND, FL 33815
     AND LICENSING AND PENTEX RTO, LLC,
     EIGHTSIXTHREE RTO, LLC, PENTEX TOP LEFT,
     LLC, AND PENTEX 1848, LLC
2.221 ADDENDUM DATED DECEMBER 1, 2017, TO THAT                        140000201                       PENTEX RTO, LLC        1345 GEORGE JENKINS BLVD.
     CERTAIN FRANCHISE AGREEMENT DATED                                                                                       LAKELAND, FL 33815
     DECEMBER 1, 2017, BY AND AMONG BUDDY'S
     FRANCHISING AND LICENSING AND PENTEX RTO,
     LLC, EIGHTSIXTHREE RTO, LLC, PENTEX TOP
     LEFT, LLC, AND PENTEX 1848, LLC
2.222 FRANCHISE AGREEMENT DATED JUNE 17, 2022,                        140000205                       PENTEX RTO, LLC        1345 GEORGE JENKINS BLVD.
     BETWEEN BUDDY'S FRANCHISING AND                                                                                         LAKELAND, FL 33815
     LICENSING LLC AND PENTEX RTO, LLC
2.223 ADDENDUM DATED JUNE 17, 2022 TO THE                             140000206                       PENTEX RTO, LLC        1345 GEORGE JENKINS BLVD.
     FRANCHISE AGREEMENT DATED JUNE 17, 2022,                                                                                LAKELAND, FL 33815
     BETWEEN BUDDY'S FRANCHISING AND
     LICENSING LLC AND PENTEX RTO, LLC
2.224 FRANCHISE AGREEMENT DATED AUGUST 10,                            140000204                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     2020, BETWEEN BUDDY'S FRANCHISING AND                                                                                   LAKELAND, FL 33815
     LICENSING LLC AND PENTEX TOP LEFT, LLC
2.225 ADDENDUM DATED DECEMBER 1, 2017, TO THAT                        140000201                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     CERTAIN FRANCHISE AGREEMENT DATED                                                                                       LAKELAND, FL 33815
     DECEMBER 1, 2017, BY AND AMONG BUDDY'S
     FRANCHISING AND LICENSING AND PENTEX RTO,

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Buddy's Franchising and Licensing LLC          Case 24-12480-LSS     Doc 1329       Filed 04/28/25      Page 28 of 31               Case Number: 24-12512 (LSS)


Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


 Nature of the Debtor's Interest                   Expiration Date   Contract ID          Co-Debtor               Name                   Address



     LLC, EIGHTSIXTHREE RTO, LLC, PENTEX TOP
     LEFT, LLC, AND PENTEX 1848, LLC
2.226 FRANCHISE AGREEMENT DATED DECEMBER 1,                           140000200                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     2017, BY AND AMONG BUDDY'S FRANCHISING                                                                                  LAKELAND, FL 33815
     AND LICENSING AND PENTEX RTO, LLC,
     EIGHTSIXTHREE RTO, LLC, PENTEX TOP LEFT,
     LLC, AND PENTEX 1848, LLC
2.227 AMENDMENT DATED OCTOBER 23, 2019 TO THE                         140000213                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                       LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.
2.228 AMENDMENT DATED AUGUST 23, 2019, TO THE                         140000212                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                       LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC
2.229 TERMINATION AGREEMENT AND RELEASE DATED                         140000207                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     AUGUST 1, 2024, BY AND AMONG BUDDY'S                                                                                    LAKELAND, FL 33815
     FRANCHISING AND LICENSING LLC AND PENTEX
     RTO, LLC, EIGHTSIXTHREE RTO, LLC, PENTEX
     TOP LEFT, LLC, AND PENTEX 1848, LLC
2.230 AMENDMENT DATED JULY 1, 2019 TO THE                             140000214                       PENTEX TOP LEFT, LLC   1345 GEORGE JENKINS BLVD.
     BUDDY'S FRANCHISING AND LICENSING                                                                                       LAKELAND, FL 33815
     FRANCHISE AGREEMENT BY AND AMONG
     BUDDY'S FRANCHISING AND LICENSING LLC AND
     PENTEX RTO, LLC, EIGHTSIXTHREE RTO, LLC,
     PENTEX TOP LEFT, LLC, AND PENTEX 1848, LLC.



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Buddy's Franchising and Licensing LLC        Case 24-12480-LSS      Doc 1329       Filed 04/28/25      Page 29 of 31                       Case Number: 24-12512 (LSS)


Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


 Nature of the Debtor's Interest                  Expiration Date   Contract ID          Co-Debtor                 Name                        Address



2.231 FRANCHISE AGREEMENT, DATED 08/04/2023, AS                      122000241                       PIERCE RTO OF COMMERCE, LLC   106B ROCK QUARRY ROAD
     AMENDED OR EXTENDED (STORE 241)                                                                                               STOCKBRIDGE, GA 30281
2.232 FRANCHISE AGREEMENT, DATED 09/18/2023, AS                      122000242                       PIERCE RTO OF DUBLIN, LLC     106B ROCK QUARRY ROAD
     AMENDED OR EXTENDED (STORE 243)                                                                                               STOCKBRIDGE, GA 30281
2.233 FRANCHISE AGREEMENT, DATED 09/03/2024, AS                      122000243                       PIERCE RTO, LLC               106B ROCK QUARRY ROAD
     AMENDED OR EXTENDED (STORE 242)                                                                                               STOCKBRIDGE, GA 30281
2.234 FRANCHISE AGREEMENT, DATED 06/24/2022, AS                      122000240                       PIERCE RTO, LLC               106B ROCK QUARRY ROAD
     AMENDED OR EXTENDED (STORE 240)                                                                                               STOCKBRIDGE, GA 30281
2.235 FRANCHISE AGREEMENT, DATED 11/01/2021, AS                      122000317                       RKR VENTURES LLC              701 MIKE'S PIKE STREET, SUITE B
     AMENDED OR EXTENDED (STORE 416)                                                                                               WINSLOW, AZ 86047
2.236 FRANCHISE AGREEMENT, DATED 02/01/2024, AS                      122000318                       THE FORT COMPANIES, LLC       12512 GRACIE LANE
     AMENDED OR EXTENDED (STORE 1011)                                                                                              SPANISH FORT, AL 36527
2.237 FRANCHISE AGREEMENT, DATED 06/20/2023, AS                      122000319                       TPGBHF, LLC                   2100 N LAKE ELOISE DRIVE
     AMENDED OR EXTENDED (STORE 160)                                                                                               WINTER HAVEN, FL 33884
2.238 FRANCHISE AGREEMENT, DATED 06/20/2023, AS                      122000320                       TPGBHF, LLC                   2100 N LAKE ELOISE DRIVE
     AMENDED OR EXTENDED (STORE 161)                                                                                               WINTER HAVEN, FL 33884
2.239 FRANCHISE AGREEMENT, DATED 06/20/2023, AS                      122000321                       TPGBHF, LLC                   2100 N LAKE ELOISE DRIVE
     AMENDED OR EXTENDED (STORE 162)                                                                                               WINTER HAVEN, FL 33884
2.240 FRANCHISE AGREEMENT, DATED 05/21/2024, AS                      122000322                       TPGBHF, LLC                   2100 N LAKE ELOISE DRIVE
     AMENDED OR EXTENDED (STORE 163)                                                                                               WINTER HAVEN, FL 33884
2.241 FRANCHISE AGREEMENT, DATED 02/23/2024, AS                      122000323                       TPGBHF, LLC                   2100 N LAKE ELOISE DRIVE
     AMENDED OR EXTENDED (STORE 164)                                                                                               WINTER HAVEN, FL 33884
2.242 FRANCHISE AGREEMENT, DATED 11/21/2022, AS                      122000324                       TRYBUDCOLLC                   6200 MOUNTAIN BROOK LANE NW
     AMENDED OR EXTENDED (STORE 121)                                                                                               ATLANTA, GA 30328
2.243 FRANCHISE AGREEMENT, DATED 07/07/2022, AS                      122000325                       TRYBUDCOLLC                   6200 MOUNTAIN BROOK LANE NW
     AMENDED OR EXTENDED (STORE 122)                                                                                               ATLANTA, GA 30328
2.244 FRANCHISE AGREEMENT, DATED 03/31/2023, AS                      122000326                       TRYBUDCOLLC                   6200 MOUNTAIN BROOK LANE NW
     AMENDED OR EXTENDED (STORE 123)                                                                                               ATLANTA, GA 30328

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Buddy's Franchising and Licensing LLC        Case 24-12480-LSS      Doc 1329       Filed 04/28/25      Page 30 of 31                Case Number: 24-12512 (LSS)


Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


  Nature of the Debtor's Interest                 Expiration Date   Contract ID          Co-Debtor              Name                     Address



2.245 FRANCHISE AGREEMENT, DATED 10/01/2021, AS                      122000327                       TRYBUDCOLLC             6200 MOUNTAIN BROOK LANE NW
     AMENDED OR EXTENDED (STORE 120)                                                                                         ATLANTA, GA 30328
2.246 FRANCHISE AGREEMENT, DATED 05/27/2021, AS                      122000328                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 582)                                                                                         SPARTANBURG, SC 29302
2.247 FRANCHISE AGREEMENT, DATED 03/29/2022, AS                      122000329                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 414)                                                                                         SPARTANBURG, SC 29302
2.248 FRANCHISE AGREEMENT, DATED 03/31/2018, AS                      122000330                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 463)                                                                                         SPARTANBURG, SC 29302
2.249 FRANCHISE AGREEMENT, DATED 03/31/2018, AS                      122000331                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 464)                                                                                         SPARTANBURG, SC 29302
2.250 FRANCHISE AGREEMENT, DATED 03/31/2018, AS                      122000332                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 465)                                                                                         SPARTANBURG, SC 29302
2.251 FRANCHISE AGREEMENT, DATED 09/08/2016, AS                      122000333                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 581)                                                                                         SPARTANBURG, SC 29302
2.252 FRANCHISE AGREEMENT, DATED 09/29/2023, AS                      122000334                       WRCT INVESTMENTS, LLC   1036 GLENDALYN CIRCLE
     AMENDED OR EXTENDED (STORE 583)                                                                                         SPARTANBURG, SC 29302




Total number of contracts                                                                                                                               252




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 Fill in this information to identify the case and this filing:

 Debtor Name:                      Buddy's Franchising and Licensing LLC

 United States Bankruptcy Court:                  DISTRICT OF DELAWARE

 Case Number (if known):                            24-12512 (LSS)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571


Declaration and Signature


     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
     correct:



         Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form (206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Other document that requires a declaration




     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on: 4/28/2025




     Signature:      /s/ Eric Seeton                                       Eric Seeton, Chief Financial Officer
                                                                           Name and Title




                                                   Declaration and Signature - Page 1 of 1
